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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 MATCH GROUP, LLC,                               §
                                                 §
        Plaintiff,                               §
                                                 §
                                                 §
 v.                                              §   Civil Action No. 6:21-cv-147
                                                 §
 MUZMATCH LIMITED                                §
                                                 §
                                                          JURY TRIAL DEMANDED
        Defendant.                               §
                                                 §
                                                 §

  PLAINTIFF MATCH GROUP, LLC’S CORPORATE DISCLOSURE STATEMENT

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Plaintiff Match Group, LLC

makes this corporate disclosure statement.

       Match Group, LLC is a limited liability company organized and existing under the laws of

the state of Delaware. It is an indirect subsidiary of Match Group Inc., a publicly held company,

also organized and existing under the laws of the state of Delaware.
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Dated: February 12, 2021        Respectfully submitted,

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                                Attorneys for Plaintiff Match Group, LLC




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                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically with the

Clerk of Court using the CM/ECF system, which will send notification of such filing to all counsel

registered as Filing Users on this 12th day of February, 2021

                                                  /s/ Robert Greeson
                                                  Robert Greeson




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